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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                Eastern Division

Nazaree Mallett, et al.
                                          Plaintiff,
v.                                                      Case No.: 1:22−cv−00158
                                                        Honorable Franklin U. Valderrama
Cook County Clerk of Cook County
                                          Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 18, 2022:


        MINUTE entry before the Honorable Jeffrey Cummings: This matter has been
referred for discovery supervision, including setting all deadlines, and settlement matters
[15]. The Court has reviewed the parties' recent joint status report [10] and enters the
following schedule: Rule 26(a)(1) initial disclosures must be served by 5/2/22; initial
written discovery requests must be served by 5/31/22; amendment to the pleadings by
8/31/22; fact discovery to be completed by 11/28/22; disclosure of plaintiff's expert
report(s) by 1/2/23; deposition of plaintiff's expert(s) by 2/6/23; disclosure of defendant's
expert(s) report by 3/6/23; and deposition of defendant's expert(s) by 4/10/23. Any
dispositive motions shall be filed by 5/8/23. By 7/1/22, the parties shall file a joint status
report setting forth what discovery has been completed, what discovery remains, and
whether any discovery disputes require the Court's attention. If the parties are mutually
interested in a settlement conference, they shall also address the issues set forth in the first
paragraph of the second page of the Court's Standing Order For Settlement Conferences
and provide the dates that the parties are mutually available in August and September
2022 for a remote video settlement conference. The deadlines for the submission of
settlement letters described in the Standing Order and the date for the settlement
conference will be promptly set after the joint status report is received. Mailed notice(ber,
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